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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              )
                                                       )
                Respondent,                            )
                                                       )
        v.                                             )       Crim. No. 91-0559-04 (TFH)
                                                       )       Civ. No. 01-2082
                                                       )
ALBA D. RESTREPO,                                      )
                                                       )
                Petitioner.                            )

                                    MEMORANDUM OPINION

        Pending before the Court is Petitioner Alba D. Restropo’s Motion to Vacate, Set Aside or

Correct Sentence pursuant to 28 U.S.C. § 2255. Upon consideration of the parties’ submissions

and the entire record, the Court will deny petitioner’s motion.

                                         I. BACKGROUND

        On July 21, 1992, petitioner and her co-defendants were found guilty of conspiracy to

distribute and possess with intent to distribute illegal drugs. Petitioner was also found guilty of

four substantive drug counts, interstate travel in aid of racketeering, and use of a telephone to

facilitate the drug conspiracy. Petitioner was sentenced to a term of imprisonment of 360 months

followed by five years of supervised release, pursuant to 21 U.S.C. § 841(b)(1)(A). The Court of

Appeals for the District of Columbia Circuit affirmed the convictions and sentence on July 26,

1996. See United States v. Williams-Davis, 90 F.3d 490 (D.C. Cir. 1996). The United States

Supreme Court denied petitioner’s application for a writ of certiorari on February 18, 1997.

Restrepo v. United States, 519 U.S. 1129 (1997). Petitioner filed the instant motion on June 27,

2001.
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                                         II. DISCUSSION

         Petitioner claims that the sentence imposed is contrary to the rule announced in Apprendi

v. New Jersey, 530 U.S. 466 (2000). In Apprendi, the Supreme Court held that “[o]ther than the

fact of a prior conviction, any fact that increases the penalty for a crime beyond the prescribed

statutory maximum must be submitted to a jury, and proved beyond a reasonable doubt.” Id. at

490. The Supreme Court subsequently applied Apprendi to invalidate a death sentence. See Ring

v. Arizona, 536 U.S. 584 (2002). Petitioner asserts that the specific drug quantity (5 kilograms of

cocaine or more) was neither alleged in the indictment nor submitted to a jury and proven beyond

a reasonable doubt. She therefore seeks to be resentenced in accordance with 21 U.S.C. § 841

(b)(1)(A), based upon the lowest quantity available in the Drug Quantity Table rather than the 5

kilograms or more of cocaine for which she was originally sentenced. See Petitioner’s Motion at

5, 11.

         These proceedings are limited by the following provision:

          [a] 1-year period of limitation shall apply to a motion under this section. The
          limitation period shall run from the latest of– (1) the date on which the judgment
          of conviction becomes final; . . . [or] (3) the date on which the right asserted was
          initially recognized by the Supreme Court, if that right has been newly recognized
          by the Supreme Court and made retroactively applicable to cases on collateral
          review.

28 U.S.C. § 2255 ¶ 6. Apprendi was decided nearly three years after petitioner’s conviction

became final. The Supreme Court has determined that the Ring decision (an Apprendi progeny)

“announced a new procedural rule that does not apply retroactively to cases already final on direct

review.” Schriro v. Summerlin, 542 U.S. 348 ___, 124 S.Ct. 2519, 2526 (2004). “[A] fortiori

Apprendi does not apply retroactively on habeas review.” Blakely v. Washington, 542 U.S. 296

___, 124 S.Ct. 2531, 2549 (2004) (O’CONNOR, J. dissenting) (citation and parenthesis omitted).


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Petitioner’s untimely motion establishes no basis for relief under § 2255 and therefore is denied.

A separate order accompanies this Memorandum Opinion.


                                             ____________s/__________________
                                               Thomas F. Hogan, Chief Judge
                                                United States District Court
Date: October 3, 2005




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